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 8                          UNITED STATES DISTRICT COURT
 9                       SOUTHERN DISTRICT OF CALIFORNIA
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11   MAYRA ROMERO, on behalf of herself                  Case No.: 24-cv-02273-H-DTF
     and all others similarly situated,
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                                        Plaintiff,       ORDER:
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     v.                                                  (1) GRANTING JOINT MOTION TO
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     AMAZON.COM, INC.,                                   CONTINUE; AND
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                                     Defendant.          (2) SETTING BRIEFING
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                                                         SCHEDULE FOR DEFENDANT’S
17                                                       MOTION TO DISMISS AND
                                                         MOTION TO TRANSFER VENUE
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19                                                       [Doc. No. 19.]
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           On January 28, 2025, Defendant Amazon.com, Inc. filed a motion to transfer venue
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     to the Western District of Washington. (Doc. No. 17.) A hearing on Defendant’s motion
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     to transfer venue is currently scheduled for Monday, March 3, 2025 at 10:30 a.m. On
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     January 28, 2025, Defendant filed a motion to dismiss Plaintiff Mayra Romero’s complaint
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     for failure to state a claim. (Doc. No. 18.) A hearing on Defendant’s motion to dismiss is
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     currently scheduled for Monday, March 10, 2025 at 10:30 a.m.
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           On February 6, 2025, the parties filed a joint motion to continue the hearings on both
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     motions. (Doc. No. 19.) The parties request that the Court continue the hearings to avoid
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 1   overlapping briefing schedules on the motions. (Doc. No. 19 at 2.) For good cause shown,
 2   the Court grants the joint motion and orders as follows:
 3             1. Any opposition to Defendant’s motion to transfer venue must be filed by
 4                Monday, March 3, 2025.
 5             2. Any reply in support of Defendant’s motion to transfer venue must be filed
 6                by Monday, March 10, 2025.
 7             3. The hearing on Defendant’s motion to transfer venue is continued to
 8                Monday, March 24, 2025 at 10:30 a.m. Pacific Time.
 9             4. Any opposition to Defendant’s motion to dismiss must be filed by Monday,
10                April 7, 2025.
11             5. Any reply in support of Defendant’s motion to dismiss must be filed by
12                Monday, April 21, 2025.
13             6. The hearing on Defendant’s motion to dismiss is continued to Monday,
14                May 5, 2025 at 10:30 a.m. Pacific Time.
15         IT IS SO ORDERED.
16   DATED: February 11, 2025
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                                                  MARILYN L. HUFF, District Judge
18                                                UNITED STATES DISTRICT COURT
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